               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       PENSACOLA DIVISION


    JOHN NAVELSKI, LINDA
    NAVELSKI, ERICK
    ALEXANDER, JACOB
    HUTCHINS, AMBER
    HUTCHINS, JEANNE
    HENDERLY, RICHARD
    BULLARD, and BEVERLY
    BULLARD, on their own behalf
    and those others similarly situated,

         Plaintiffs,

    v.                                       Case No. 3:14-cv-00445
                                             MCR/CJK
    INTERNATIONAL PAPER
    COMPANY,

         Defendant.


  DEFENDANT INTERNATIONAL PAPER COMPANY’S MOTION IN
   LIMINE AND INCORPORATED MEMORANDUM OF LAW TO
 EXCLUDE EVIDENCE REGARDING THE COMPOSITION OF PAPER
     MILL EFFLUENT AND MATERIALS USED IN EFFLUENT
  TREATMENT, AND HISTORIC EXCEEDANCES OF INDUSTRIAL
      WASTEWATER FACILITY PERMIT SPECIFICATIONS

      Defendant International Paper Company (“IP”) respectfully moves in limine

for an order excluding evidence regarding the composition of IP’s paper mill

effluent and materials used in the effluent treatment process, as well as evidence of

historic exceedances of IP’s industrial wastewater facility permit discharge
specifications. In support of its motion, IP submits the following memorandum of

law.
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                                INTRODUCTION

      Plaintiffs allege negligence, trespass, nuisance, and strict-liability claims

against IP based on flooding that occurred during an unprecedented April 2014

rainstorm. During the storm, stormwater breached an overflow structure,

sometimes referred to as the “Kingsfield Road Dam,” on IP’s paper mill site in

Cantonment, Florida. Plaintiffs assert that the stormwater released as a result of

the breach of the Kingsfield Road Dam caused all of the flooding in the class area.

Nonetheless, Plaintiffs have indicated to IP that they intend to introduce evidence

during the class trial relating to the composition of IP’s paper mill effluent—

including materials present in the effluent and used in the effluent treatment

process—as well as evidence of exceedances of the mill’s industrial wastewater

facility permit discharge specifications prior to the April 2014 rainstorm.

      All of this evidence should be excluded as irrelevant and unduly prejudicial.

As an initial matter, evidence regarding exceedances of wastewater facility permit

specifications before the April 2014 storm (some more than two decades before the

event) is simply not relevant to whether the breach of the Kingsfield Road Dam

caused all of the flooding in the class area. Moreover, beginning in 2012, the

mill’s treated effluent was discharged through a pipeline into the Perdido Bay

wetlands and thus did not pass through the discharge point at the Kingsfield Road

Dam area into Elevenmile Creek. Accordingly, evidence regarding the


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composition of mill effluent discharged through the wastewater treatment system is

not relevant to the issues to be decided in the class trial—i.e., whether IP is legally

responsible for the breach of the Kingsfield Road Dam and whether the breach of

the structure caused all of the flooding in the class area. In addition, even if

evidence regarding the content of mill effluent or prior wastewater treatment

system permit exceedances had some modest relevance, it would be far

outweighed by the unduly prejudicial impact of the evidence on IP and its

likelihood of confusing the issues and misleading the jury. Finally, evidence

concerning industrial wastewater facility permit discharge exceedances prior to

April 2014 constitutes improper character evidence based on prior acts and is thus

inadmissible on additional grounds.

      For all of these reasons, the Court should enter an order excluding all

evidence regarding the content of IP’s paper mill effluent and any chemicals or

other materials used in the effluent treatment process, as well as evidence of any

exceedances of industrial wastewater facility permit discharge specifications.

                           FACTUAL BACKGROUND

      For many years, the structure that Plaintiffs refer to as the Kingsfield Road

Dam was part of the Cantonment paper mill’s wastewater treatment system. Prior

to 2012, the structure was part of the final discharge point for the mill’s treated

effluent and helped to regulate the release of treated water into Elevenmile Creek.


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See Ex. A, William Yuhasz Dep. 42:10–13; Ex. B, Kyle Moore Dep. Vol. II

181:9–24. Effluent flowed through a series of treatment ponds in the wastewater

system before it was discharged into Elevenmile Creek. After passing through

primary clarifiers to remove solids, the effluent flowed through three treatment

ponds for aeration and other treatment—“Pond One,” “Pond Two,” and “Pond

Three.” Ex. A, William Yuhasz Dep. Vol. I 38:2–7, 38:20–25, 39:23–41:5, 41:16–

25. After passing through Pond Three, the treated effluent flowed into Pond Four,

and ultimately into Elevenmile Creek. Id. at 41:6–15. The Kingsfield Road Dam

area (including a drop-box and pipe system) controlled the release of water from

“Pond Four” into Elevenmile Creek. Ex. C, Kyle Moore Dep. Vol. I 49:22–50:6.

      In 2012, however, IP completed construction of a pipeline to the Perdido

Bay wetlands, which replaced Elevenmile Creek as the destination for treated mill

effluent. See Ex. D, Laurie McLain Dep. 31:9–32:16. As a result of this change,

the mill’s treated effluent no longer flowed into Pond Four. Instead, after the mill

transitioned to the pipeline, effluent passed through two primary clarifiers to

remove solids before flowing into an aerated stabilization basin system in Pond

One. Id. at 31:9–19; Ex. E, John Taylor Dep. 38:16–21. Effluent then flowed into

Pond Three, for secondary treatment. Ex. D, Laurie McLain Dep. 31:15–21; Ex.

E, John Taylor Dep. 44:6–9. From Pond Three, effluent passed into the “Final

Effluent Mix Box” before discharge into the pipeline to the Perdido Bay wetlands.


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Ex. D, Laurie McLain Dep. 31:21–32:16; Ex. E, John Taylor Dep. 45:20–22.

Thus, in April 2014, treated mill effluent was not flowing into Elevenmile Creek

via the Kingsfield Road Dam area. See Ex. A, William Yuhasz Dep. Vol. I 44:24–

45:8, 46:11–15.

      In April 2014, the Kingsfield Road Dam breached during an unprecedented

storm event, releasing stormwater into Elevenmile Creek. Ex. C, Kyle Moore Dep.

Vol. I at 42:17–43:7. Although there is evidence that the ponds in the wastewater

treatment system reached capacity during the storm, there is no indication that any

non-stormwater effluent overflowed from the ponds, made its way to the

Kingsfield Road Dam, and was discharged when the structure breached. See Ex. F,

Christopher Quackenbush Dep. 49:14–50:5, 69:12–16. According to mill

employees, the wastewater treatment system remained intact structurally during the

storm. See Ex. G, IP Internal Communication. Plaintiffs, however, seek to

introduce evidence regarding the materials present in paper mill effluent and used

in the effluent treatment process, as well as evidence of historic exceedances of

industrial wastewater facility permit discharge specifications. For example,

Plaintiffs intend to offer an Operations Manual for Treatment of Mill Effluent,

dated January 1972. See Ex. H, Operations Manual. The manual describes the

mill effluent treatment process that existed in 1972, when the mill was owned by a

company called St. Regis, and provides instructions for the operation of the


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treatment system. Id. at 5. It discusses chemicals that St. Regis used for effluent

treatment, such as ammonia and phosphoric acid, their potential adverse effects on

human health, and the safety procedures that mill employees should follow in

connection with their use. Id. at 9–30. It also contains a lengthy appendix with

detailed standards (current as of 1972) for the safe handling and use of ammonia

and phosphoric acid. Id. at 33–115.

      Plaintiffs also asked questions during IP employees’ depositions concerning

the materials in IP’s paper mill effluent and used during the effluent treatment

process. For example, Plaintiffs’ counsel questioned IP employees about the

chemicals contained in paper mill effluent and used during the treatment process,

and their potential health hazards. See, e.g., Ex. D, Laurie McLain Dep. 51:14–

52:14, 53:20–56:25; 60:1–25. Ex. E, John Taylor Dep. 26:7–33:19. Plaintiffs’

counsel even asked IP employees if they would swim in the mill’s effluent

treatment ponds. See Ex. D, Laurie McLain Dep. 51:25–52:14; Ex. E, John Taylor

Dep. 30:17–32:24.

      Plaintiffs also seek to introduce evidence regarding industrial wastewater

facility permit discharge exceedances prior to April 2014. This evidence includes

a summary of discharge exceedances from January 1994 through April 2006,

which lists instances where IP or a former owner of the paper mill, Champion

International, exceeded the surface water discharge specifications outlined in the


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applicable wastewater facility permit, see Ex. I, Exceedances Summary, and a

document that includes information reflecting enforcement actions and fines

against Champion International for discharge violations between 1990 and 1994,

see Ex. J, Champion’s Stormwater History.

      Plaintiffs also intend to introduce a 2009 consent order between IP and the

Florida Department of Environmental Protection (“FDEP”), which describes (and

settles) allegations by FDEP regarding exceedances of Champion’s and IP’s

industrial wastewater facility permit discharge specifications. See Ex. K, Consent

Order at 1, 4–5. The consent order also includes tables of interim discharge limits

for materials including fecal coliform, mercury, and arsenic. See, e.g., id. at 19–

20.

                                    ARGUMENT

 I.   Evidence Relating To The Content Of Mill Effluent And Exceedances
      Of Industrial Wastewater Facility Permit Discharge Specifications Is
      Not Relevant To The Issues Presented In The Class Trial.

      The Court should exclude evidence relating to the content of paper mill

effluent and exceedances of industrial wastewater facility permit discharge

specifications, because it is not relevant to the issues that will be decided in the

class trial—namely, whether IP is legally responsible for all of the flooding in the

class area during the April 2014 storm.




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      “Irrelevant evidence is not admissible.” Fed. R. Evid. 402. “Evidence is

relevant if: (a) it has any tendency to make a fact more or less probable than it

would be without the evidence; and (b) the fact is of consequence in determining

the action.” Fed. R. Evid. 401. The relevance inquiry focuses on the “relation

between an item of evidence and a matter properly provable in the case,” asking

whether “the item of evidence tend[s] to prove the matter sought to be proved.”

Fed. R. Evid. 401 Advisory Committee’s Note to 1972 Proposed Rules.

          A. Evidence Regarding Materials Present In Mill Effluent Or Used
             In The Effluent Treatment Process Has No Tendency To Prove
             Or Disprove Any Issue Presented In The Class Trial.

      Evidence about the content of the mill’s effluent or chemicals used in the

effluent treatment process sheds no light on the issues to be decided in the class

trial, which include whether IP exercised reasonable care in maintaining the

Kingsfield Road Dam in the period preceding the April 2014 storm, and whether

the breach of the structure caused all of the flooding in the class area. For

example, the 1972 effluent treatment manual describes a wastewater treatment

process in use more than forty years earlier by the St. Regis company. Even if the

wastewater treatment process were somehow relevant to the questions presented in

the liability trial, the St. Regis manual would still not be relevant, because the

mill’s treatment process has changed significantly since the manual was published

in 1972. See Ex. A, William Yuhasz Dep. Vol. I 20:22–21:10. In a similar vein, a


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substantial portion of the manual consists of safety standards for the use of

ammonia and phosphoric acid, which are not only irrelevant but also seriously

outdated. The operations manual is thus too remote in time and substance to have

any relevance here.

      For similar reasons, testimony about the toxicity of materials in the mill

effluent and used during the treatment process is not relevant to assessing IP’s

conduct with respect to the Kingsfield Road Dam, or to the potential cause of the

flooding in the class area. In April 2014, the mill’s treated effluent was discharged

into a pipeline to the Perdido Bay wetlands, bypassing the Kingsfield Road Dam

area. Moreover, even if there were evidence that some modest amount of treated

effluent overflowed Ponds One or Three as they filled with stormwater on April

29, there is no basis to conclude that the treated effluent caused all of the flooding

of the class area.

      Evidence about the composition of the effluent or chemicals used during the

treatment process is not relevant to any other issue presented in the class trial.

Plaintiffs’ negligence claim is focused on whether IP failed to exercise reasonable

care in its maintenance of the Kingsfield Road Dam—a question not informed by

the chemicals used to treat mill effluent or the content of the effluent. Plaintiffs’

trespass claim, which concerns whether IP intended for the Kingsfield Road Dam

to breach and for the impounded water to enter each class member’s property, and


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their nuisance claim, which hinges on the reasonableness of IP’s usage of its

property as it pertains to the Kingsfield Road Dam and whether any flooding of the

class area attributable to the breach of the dam was prolonged or recurring, are

likewise uninformed by the content of the effluent.

      Nor is the composition of mill effluent relevant to Plaintiffs’ strict-liability

claim, which requires a showing that IP’s maintenance of the Kingsfield Road

Dam was not suited to the land and was so uniquely dangerous that the risk of

harm could not be mitigated through reasonable care. See Cities Serv. Co. v. State,

312 So. 2d 799, 802 (Fla. 2d DCA 1975). The content of the mill’s effluent

reveals nothing about any dangers that might have been posed by IP’s maintenance

of the Kingsfield Road Dam during the period leading up to the storm, when

effluent was discharged through the pipeline into the Perdido Bay wetlands, or to

an assessment of whether the Kingsfield Road Dam posed a risk of harm that was

serious and abnormal and that could not be eliminated by the exercise of

reasonable care.

      The Court should therefore exclude all evidence regarding materials present

in mill effluent or used during the effluent treatment process, because it is not

relevant to any issue presented in the class trial.




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           B. Evidence Of Industrial Wastewater Facility Permit Exceedances
              Has No Tendency To Prove Or Disprove Any Issue Presented In
              The Class Trial.

       Evidence of historic exceedances of industrial wastewater facility permit

discharge specifications is likewise not relevant to whether IP is legally responsible

for the breach of the Kingsfield Road Dam during the April 29–30, 2014 storm or

whether the breach of that structure caused all of the flooding in the class area.1

       Indeed, many of the exceedances Plaintiffs seek to introduce occurred well

before 2014, in most cases during the 1980s and 1990s. For example, a summary

of discharge exceedances for the period January 1994 through April 2006 lists

instances where IP or a former owner of the paper mill, Champion International,

exceeded the surface water discharge specifications outlined in the applicable

permit. See Ex. I, Exceedances Summary. Another document includes

information reflecting enforcement actions and fines against Champion

International for discharge violations between 1990 and 1994. See Ex. J,

Champion’s Stormwater History. None of these exceedances relates to the



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    The fact that IP’s permit from FDEP regulated both the mill’s wastewater and stormwater
    systems does not change the relevance analysis for evidence of wastewater permit
    exceedances. Portions of the wastewater permit deal with inspections of IP’s stormwater
    system, including the Kingsfield Road Dam, and thus shed light on both the purposes of the
    structure and IP’s maintenance of it before the April 2014 storm. It does not follow that
    evidence about effluent treatment, including historic exceedances of wastewater permit
    discharge specifications, is also relevant. These exceedances are not only irrelevant to IP’s
    conduct with respect to the Kingsfield Road Dam, they also have no bearing on whether the
    structure’s breach caused all of the flooding in the class area.

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maintenance of the Kingsfield Road Dam or to the cause of the April 2014

flooding in the class area.

      For similar reasons, the 2009 consent order is not relevant to the issues that

will be litigated at the class trial. The consent order describes unproven allegations

against Champion International and IP pertaining to permit discharge exceedances

(which were settled). See Ex. K, Consent Order. The exceedances discussed in the

order—which occurred before IP transitioned to the wetlands pipeline system—are

unconnected to Plaintiffs’ claims about flooding that occurred in the class area

during the 2014 storm.

      The Court should therefore exclude as irrelevant all evidence regarding

exceedances of industrial wastewater facility permit discharge specifications.

II.   The Evidence Is Unduly Prejudicial, Likely To Confuse The Issues, And
      Likely To Mislead The Jury.

      Even if evidence regarding the composition of mill effluent and exceedances

of industrial wastewater facility permit discharge specifications were somehow

relevant, its exclusion would still be warranted, because any minimal probative

value is substantially outweighed by the evidence’s unduly prejudicial effect on IP

and its likelihood of confusing the issues and misleading the jury.

      Federal Rule of Evidence 403 authorizes courts to “exclude relevant

evidence if its probative value is substantially outweighed by a danger of one or

more of the following: unfair prejudice, confusing the issues, misleading the jury,
                                          11
undue delay, wasting time, or needlessly presenting cumulative evidence.” Fed. R.

Evid. 403.

        Evidence about the composition of mill effluent and industrial wastewater

facility permit discharge exceedances would severely prejudice IP by leaving the

jury with the misimpressions that the stormwater impounded by the Kingsfield

Road Dam was polluted with chemicals used in the effluent treatment process, and

that IP failed to adhere to regulatory requirements regarding the wastewater

treatment system. It would also distract the jury from the relevant factual

questions in the class trial, which have nothing to do with any historic exceedances

of industrial wastewater facility discharge permit conditions in the 1980s and

1990s, or the composition of the treated effluent, but rather focus on IP’s actions

relating to the breach of the Kingsfield Road Dam and whether the water released

when the Kingsfield Road Dam breached caused all of the flooding in the class

area.

        The unduly prejudicial impact of the evidence regarding materials present in

mill effluent and used in the effluent treatment process is clear. For example, the

January 1972 operations manual for treatment of mill effluent comprises more than

one hundred pages outlining the mill’s effluent treatment process as it existed more

than forty years before the April 2014 storm, when the mill was owned and

operated by a different company. See Ex. H, Operations Manual. It describes in


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detail the various chemicals used throughout that process, including ammonia and

phosphoric acid, and their potential dangers—even though the mill’s treatment

process has changed significantly during the intervening decades, and the

Kingsfield Road Dam was not even part of the mill’s treatment and discharge

system in April 2014. Id. at 9–30. Several sections of the manual refer to mill

employees wearing gas masks and protective gloves for safety purposes during the

effluent treatment process, see, e.g., id. at 17, 37, and the appendix includes safety

standards (current in 1972) for the handling and use of ammonia and phosphoric

acid, id. at 33–115.

      The deposition questions that Plaintiffs’ counsel posed regarding the

materials present in mill effluent and used in the treatment process have a similarly

prejudicial impact. For example, Plaintiffs’ counsel asked several IP employees

during their depositions if the mill’s effluent was toxic and whether they would

feel comfortable swimming in it. See, e.g., Ex. D, Laurie McLain Dep. 51:14–

52:14; Ex. E, John Taylor Dep. 30:17–33:19. Counsel also repeatedly asked

detailed questions about the composition of the effluent, the specific chemicals

used to treat it, and their potential health hazards. See, e.g., Ex. D, Laurie McLain

Dep. 53:20–56:25; 60:1–25; Ex. E, John Taylor Dep. 26:7–30:16. At one point,

counsel attempted to equate stormwater impounded by the Kingsfield Road Dam

with effluent treated through the mill’s processing system, even though the effluent


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was discharged through the separate pipeline to the Perdido Bay wetlands in 2014.

Ex. D, Laurie McLain Dep. 56:1–7.

      If any of this evidence regarding chemicals in the mill effluent or used

during the effluent treatment process were introduced during trial, it would unfairly

prejudice IP by encouraging the jury to conflate IP’s discharge of treated effluent

through the underground pipeline to the Perdido Bay wetlands with the stormwater

impounded by the Kingsfield Road Dam, and by inaccurately suggesting to the

jury that the stormwater was polluted. The jury should decide this case based on

IP’s conduct in connection with the Kingsfield Road Dam and the cause of the

flooding that occurred during the storm, not based on visceral or emotional

reactions to evidence about the composition of the mill’s effluent or materials used

in the effluent treatment process.

      Those misimpressions would be compounded if Plaintiffs were permitted to

introduce evidence regarding industrial wastewater facility permit discharge

exceedances, many of which predate the April 2014 event by a decade or more, or

historical enforcement actions and fines incurred by Champion International for

permit violations during the 1990s. This evidence could mislead jurors into

inaccurately concluding that IP is a chronic polluter that repeatedly failed to adhere

to regulatory standards setting requirements for the content of its treated effluent—

which, even if it were true, is not relevant to the issues presented in the class trial.


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      The 2009 consent order between IP and the Florida Department of

Environmental Protection could confuse and mislead jurors in a similar manner.

The order discusses alleged permit exceedances associated with Champion’s and

IP’s effluent discharges, and outlines a schedule of actions IP agreed to take to

settle, without admission, FDEP’s allegations.

      In order to combat the misimpressions created by these documents and place

them in proper context, IP would need to introduce its own evidence regarding (1)

the infrequency of, and explanations for, IP’s permit discharge exceedances; and

(2) the non-toxicity of treated effluent discharged into the Perdido Bay wetlands.

This would needlessly prolong the trial (and still risk misleading and confusing

jurors) without informing the jury’s consideration of the central issues in this case

regarding IP’s maintenance of the Kingsfield Road Dam and the cause of the

flooding in the class area.

      To prevent this unfair prejudice to IP—and to avoid unduly complicating

and prolonging this trial by focusing on issues that are not relevant—the Court

should exclude evidence relating to materials present in mill effluent and used in

the effluent treatment process, as well as evidence about any exceedances of

wastewater permit discharge specifications.




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III.   Evidence Relating To Industrial Wastewater Facility Permit
       Exceedances Is Inadmissible Character Evidence Based On Prior Acts.

       Finally, evidence of industrial wastewater facility permit discharge

exceedances is inadmissible for an additional reason: it constitutes improper

character evidence based on prior acts.

       Federal Rule of Evidence 404(b) prohibits the use of evidence of “a crime,

wrong, or other act . . . to prove a person’s character in order to show that on a

particular occasion the person acted in accordance with the character.” Fed. R.

Evid. 404(b)(1). Although Rule 404(b) is often used to bar evidence of prior

crimes or bad acts in criminal cases, the rule also applies in civil cases. See

Huddleston v. United States, 485 U.S. 681, 685 (1988).

       Rule 404(b) is grounded in the principle that the use of prior bad acts to

prove character or propensity “is inherently prejudicial.” Id. at 910. As the note to

Rule 404 explains, “Character evidence . . . tends to distract the trier of fact from

the main question of what actually happened on the particular occasion.” Fed. R.

Evid. 404 Advisory Committee’s Notes on Proposed Rules (internal quotation

marks omitted). Instead, “[i]t subtly permits the trier of fact to reward the good

man and to punish the bad man because of their respective characters despite what

the evidence in the case shows actually happened.” Id. Given these risks,

evidence of other acts is potentially admissible only when relevant to an issue other

than character, such as motive, intent, knowledge, or lack of accident. Fed. R.
                                          16
Evid. 404(b)(2). Even then, such evidence is inadmissible unless its “inherent

prejudice” does not substantially outweigh the evidence’s probative value. United

States v. Beechum, 582 F.2d 898, 910 (5th Cir. 1978).

      Courts apply a three-part test to determine whether evidence of prior acts is

admissible for a permissible purpose. “First, the evidence must be relevant to an

issue other than the defendant’s character.” United States v. Miller, 959 F.2d 1535,

1538 (11th Cir. 1992). “Second, as part of the relevance analysis, there must be

sufficient proof so that a jury could find that the defendant committed the extrinsic

act.” Id. (footnote omitted). Finally, “the evidence must possess probative value

that is not substantially outweighed by its undue prejudice, and the evidence must

meet the other requirements of Rule 403.” Id.

      The evidence regarding permit exceedances is inadmissible under this test.

As explained above, this evidence is not relevant to any issue in the liability trial,

which will address questions about IP’s conduct in relation to the Kingsfield Road

Dam and the cause of the flooding in the class area. But even if the evidence did

have some relevance, it could only be pertinent to IP’s character as a company that

supposedly fails on occasion to meet its treated effluent discharge obligations

(whether or not those obligations are related in any respect to the maintenance of

the Kingsfield Road Dam). Thus, evidence relating to industrial wastewater

facility permit discharge exceedances could only be relevant for the impermissible


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purpose of showing that IP had a propensity to violate its legal obligations and

acted in accordance with that character with respect to the Kingsfield Road Dam.

        Moreover, even if evidence of industrial wastewater facility permit

discharge exceedances were arguably relevant to an issue other than character, it

still would be unable to clear the Rule 403 hurdle and would have to be excluded at

step three of the Miller analysis. As discussed in Part II, any slight probative value

of this evidence is substantially outweighed by its serious risk of unfairly

prejudicing IP, confusing the issues, and misleading the jury.2 Evidence regarding

industrial wastewater facility permit exceedances is therefore inadmissible on

multiple grounds and must be excluded.

                                       CONCLUSION

        For the foregoing reasons, IP respectfully requests that the Court enter an

order excluding evidence regarding the materials in paper mill effluent and used




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     Plaintiffs have suggested they will rely on evidence of industrial wastewater facility permit
     exceedances to prove that IP was aware of previous erosion or overflow issues with the
     Kingsfield Road Dam, yet failed to take appropriate corrective actions. In addition to posing
     serious risks of unfair prejudice, the summary of permit exceedances from 1996–2004 does
     not reveal any erosion or design problems associated with the Kingsfield Road Dam. See Ex.
     I, Exceedances Summary. Nor does evidence of fines imposed for exceedances of permit
     discharge specifications reveal anything about whether water previously eroded the structure.
     This evidence is thus not only inherently prejudicial, but also not relevant. To the extent
     Plaintiffs wish to argue that IP knew about prior erosion issues with the Kingsfield Road
     Dam, they should rely on evidence that does not pose the same serious risks of prejudice and
     confusion that Rule 403 is designed to avoid.

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during the effluent treatment process, and evidence regarding any exceedances of

industrial wastewater facility permit discharge specifications.

Dated: January 19, 2018                       Respectfully submitted,

                                              /s/ Daniel W. Nelson
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      CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(B)

      I hereby certify that counsel for Defendant conferred with counsel for

Plaintiffs, and Plaintiffs oppose the relief sought in this motion.


                                               /s/ Daniel W. Nelson
                                               Daniel W. Nelson



      CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(F)

      I hereby certify that this memorandum contains 4,639 words and therefore

complies with the word limit set forth in Local Rule 7.1(F).


                                               /s/ Daniel W. Nelson
                                               Daniel W. Nelson



                          CERTIFICATE OF SERVICE

      I hereby certify that on the 19th day of January, 2018, the foregoing

document was filed using the Court’s CM/ECF system. In addition, (1) the filing is

available for viewing and downloading via the CM/ECF system, and (2) the

CM/ECF system will send notification of this filing to all attorneys of record who

have registered for CM/ECF updates.


                                               /s/ Daniel W. Nelson
                                               Daniel W. Nelson


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